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   IT IS ORDERED as set forth below:



   Date: July 12, 2023
                                                         _________________________________

                                                                     Sage M. Sigler
                                                              U.S. Bankruptcy Court Judge

 ________________________________________________________________


                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 In re:                                           CASE NUMBER:

 TERRENCE WILLIAMS,                               23-55306-SMS

          Debtor.                                 CHAPTER 13

   ORDER DENYING DEBTOR’S MOTION TO IMPOSE THE AUTOMATIC STAY

          Before the Court is the Motion to Impose Stay (the “Motion,” Doc. 21) filed by Terrence

Williams (“Debtor”), pro se, on June 29, 2023. The Court held a hearing on the Motion on July

11, 2023 (the “Hearing”). Brian K. Jordan appeared at the Hearing on behalf of JPMorgan Chase

Bank, National Association (“Chase”), and someone purporting to be Debtor appeared by

telephone.

          At the Hearing, the purported Debtor stated that he filed this bankruptcy case and the

Motion in an effort to avoid foreclosure of the real property located at 1455 Highland Lake Drive,

Lawrenceville, Georgia 30045 (the “Property”). Mr. Jordan informed the Court that Chase
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conducted a foreclosure sale of the Property on July 5, 2023 and sold the Property to a third party.1

Accordingly, the Motion is futile.

         Nevertheless, the Court finds Debtor’s filings in this case concerning. Debtor’s filings

appear to have been prepared with undisclosed assistance or by someone other than an

inexperienced pro se debtor. 2 Aggravating the Court’s concerns, the Court could not verify

Debtor’s identity. Debtor completely failed to appear in prosecution of his previous Motion to

Impose Stay (Doc. 3) on June 20, 2023, and Debtor did not appear via video at the Hearing.

Moreover, Debtor could not recite the address of the Property without apparently checking notes,

and when the Court asked Debtor the last four digits of his social security number, he hesitated

before disconnecting from the Hearing. The Court will accordingly refer the matter to the United

States Trustee for any further investigation she deems appropriate.

         Having read and considered the Motion, for the reasons stated on the record at the Hearing

and supplemented in this Order, it is

         ORDERED that the Motion is DENIED.

         The Clerk of Court shall serve a copy of this Order on the attached distribution list and the

mailing matrix.

                                            END OF DOCUMENT




1
  Because this case was Debtor’s third case within a one-year time span and because Debtor’s two prior cases were
dismissed, the automatic stay was not effective upon the filing of the petition in this case. See 11 U.S.C. § 362(c)(4).
Both of Debtor’s prior cases, 23-50072 and 23-52216, were dismissed for Debtor’s failure to pay the case filing fee.
2
 See, e.g., Debtor’s Motions to Impose Stay (Docs. 3 and 21) and Application to Extend Time to File Schedules (Doc.
15). The Court also notes that Debtor submitted the petition via email (Doc. 1).


                                                           2
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Distribution List

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